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16   Platforms, Inc.

17
                                 UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                        OAKLAND DIVISION
20
      WHATSAPP LLC, and                 )
21    META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
                                        )
22                                      )
                      Plaintiffs,       )             ADMINISTRATIVE MOTION TO
23                                      )             FILE UNDER SEAL
             v.                         )
24                                      )             Ctrm: 3
      NSO GROUP TECHNOLOGIES LIMITED )                Judge: Hon. Phyllis J. Hamilton
25    and Q CYBER TECHNOLOGIES LIMITED, )
                                        )
26                                      )
                      Defendants.       )             Action Filed: October 29, 2019
27                                      )
                                        )
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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5, Plaintiffs WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc. (together, “Plaintiffs”)

 4   by and through their counsel, respectfully submit this Administrative Motion for an order permitting

 5   them to file under seal certain portions of Exhibits 2, 3, 19, and 20 to the Declaration of Micah G.

 6   Block in Support of Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment or Partial

 7   Summary Judgment (the “Block Declaration”), and Exhibits B and C to the Declaration of Dana

 8   Trexler in Support of Plaintiffs’ Motion for Partial Summary Judgment and in Opposition to

 9   Defendants’ Motion for Summary Judgment or Partial Summary Judgment (the “Trexler

10   Declaration”), and the entirety of Exhibits 15, 21, 40, 41, and 42 to the Block Declaration

11   (collectively, the “Materials”).

12          The appropriate standard for sealing on a motion for summary judgment is “compelling

13   reasons.” Am. Auto. Ass’n of N. California, Nevada & Utah v. Gen. Motors LLC, No. 17-CV-

14   03874-LHK, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019). “The Ninth Circuit has found

15   that compelling reasons exist to keep personal information confidential to protect an individual’s

16   privacy interest and to prevent exposure to harm or identity theft.” Nursing Home Pension Fund v.

17   Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (citing Foltz v. State Farm Mut.

18   Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003)).

19          Plaintiffs submit that compelling reasons exist to seal the Materials to protect the

20   confidential information and privacy interests of Plaintiffs’ individual employees and users.

21   Exhibit 2 and 3 to the Block Declaration and Exhibit B to the Trexler Declaration contain the

22   names of certain of Plaintiffs’ non-testifying employees whose identities are not pertinent to any

23   issue, claim, or defense in this action. “[R]edaction of [their] identifying information is particularly

24   appropriate here, because the public’s interest in the name of [an employee] is likely insignificant,

25   as the exact name is irrelevant to the legal issues in this case.” O’Connor v. Uber Techs., Inc., 2015

26   WL 355496, at *2 (N.D. Cal. Jan. 27, 2015); see also Ehret v. Uber Techs., Inc., 2015 WL

27   12977024, at *3 (N.D. Cal. Dec. 2, 2015) (“While the . . . employees are employed by a party in

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 1   this case and have a lower privacy interest, their specific e-mail addresses are not relevant to the

 2   merits of the motion of this case.”). In addition, the public disclosure of Plaintiffs’ employees’

 3   names in connection with litigation has sometimes been followed by harassment, online threats,

 4   and/or suspicious phone calls, text-messages or emails, particularly in cases with significant media

 5   attention. There is little, if any public interest, in those identities, so the private interests justify

 6   sealing.

 7           Exhibits B and C to the Trexler Declaration contains the individual compensation of several

 8   of Plaintiffs’ employees. This is sensitive, personal information that is not available to the public,

 9   nor are the details pertinent to the issues raised in Plaintiffs’ Motion for Partial Summary Judgment.

10   The release of this information could harm the privacy interests of the listed individuals. See Ehret,

11   2015 WL 12977024, at *2 (holding that names and individual earnings may be redacted under both

12   the good cause and compelling reasons standard as the information “concerns privacy interests”).

13           Exhibits 15, 19, 20, 21, 40, 41, and 42 to the Block Declaration contain the phone numbers,

14   IP addresses, and other identifiers associated with certain non-party WhatsApp users or other non-

15   parties. This is confidential personally identifying information that is not available to the public.

16   The release of this information could harm the privacy interests of the identified individuals. See

17   Am. Auto, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (granting motion to seal individual

18   names, addresses, phone numbers, and email addresses); Activision Publ’g, Inc. v. Engine Owning

19   UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023) (finding compelling reasons “to seal the

20   various parties’ customers’ personal information, which includes . . . IP addresses, email addresses,

21   and/or customer activities on certain platforms, in order to protect the customers’ privacy.”).

22           For the foregoing reasons, Plaintiffs respectfully request permission to file portions of

23   Exhibits 2, 3, 19, and 20 to the Block Declaration, Exhibits B and C to the Trexler Declaration, and

24   the entirety of Exhibits 15, 21, 40, 41, and 42 to the Block Declaration under seal. The proposed

25   sealing is narrowly tailored and seeks only to protect those portions of the documents that contain

26   sensitive and confidential personal information about Plaintiffs’ individual employees or users.

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 1           This motion and copies of any relevant attachments will be served on counsel of record as

 2   listed in the attached certificate of service.

 3

 4    Dated: October 11, 2024                         Respectfully Submitted,

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